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                              UNITED STATES DISTRIT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

          v.                                       Case No. 23-cr-78 (RBW)

    JEROD BARGAR,

               Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Jerod Bargar to six months of incarceration, three years of supervised release,

$2,000 in restitution, and the mandatory assessment of $100 for the felony conviction. The

government’s request reflects the high end of Bargar’s advisory Guidelines range (0-6 months of

incarceration).

     I.         INTRODUCTION

          The defendant, Jerod Bargar, a 37-year old resident of Centralia, Missouri, traveled to

Washington, D.C. and participated in the January 6, 2021 attack on the United States Capitol—a

violent attack that forced an interruption of the certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 Presidential election, injured more

than one hundred police officers, and resulted in more than 2.9 million dollars in losses. 1 When


1
 As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
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Bargar unlawfully entered and remained in the Capitol’s restricted area, he carried a loaded

firearm, which at some point fell to the ground and was later recovered by a Metropolitan Police

Department (“MPD”) officer on the Capitol’s West Plaza. Furthermore, although the government

does not have evidence that Bargar entered the Capitol building itself on January 6th, by his own

admission, Bargar advanced deep enough into the Capitol’s restricted area to notice tear gas and

other munitions.

          The government recommends that the Court sentence Bargar to six months of incarceration

for his violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A). This sentence reflects the gravity of

Bargar’s conduct—bringing a loaded firearm onto restricted Capitol grounds in the midst of a

violent riot.

    II.        FACTUAL BACKGROUND

          A.     The January 6, 2021 Attack on the Capitol

          The government refers the Court to the stipulated Statement of Offense filed in this case,

ECF No. 30, for a short summary of the January 6, 2021 attack on the United States Capitol by

hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election.

          B.     Bargar’s Role in the January 6, 2021 Attack on the Capitol

          On January 5, 2021, Bargar traveled from his home in Centralia, Missouri to Washington,



Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.

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D.C. with a friend to attend former President Donald Trump’s “Stop the Steal” rally. On the

morning of January 6th, Bargar and his friend attended the “Stop the Steal” rally at the Ellipse,

near the National Monument.




                      Image 1: Bargar in Front of Washington Monument

By approximately 1:14 p.m., Bargar had made his way onto restricted Capitol grounds on the West

side of the Capitol, coming close to police barricades set up along the West Plaza.




                               Image 2: Bargar on the West Plaza
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       Only 20 minutes prior to Bargar’s appearance on the West side of the Capitol, the outer

perimeter of restricted Capitol grounds had been breached, with several members of the crowd

jumping over and pushing down the unmanned bicycle-rack barricades at the Peace Circle and

advancing into the restricted area to engage with USCP officers at the first manned barrier. Less

than a minute later, with the crowd already numbering in the hundreds, the handful of USCP police

officers in and around the barrier were shoved out of the way by the mob.

       Following the conclusion of President Trump’s speech at approximately 1:15 pm, the

crowd began to grow even more rapidly, supplemented by those who had walked the mile and a

half from the Ellipse to the Capitol—including Bargar. At 2:03 pm—about 45 minutes after Bargar

had entered restricted grounds on the West side—MPD officers responding to USCP officers’ calls

for help began broadcasting a dispersal order to the crowd. The order began with two blaring tones,

and then a 30-second announcement, which was played on a continuous loop:

       This area is now a restricted access area pursuant to D.C. Official Code 22-1307(b).
       All people must leave the area immediately. This order may subject you to arrest
       and may subject you to the use of a riot control agent or impact weapon.

Despite the warning and the deployment of riot control agents and impact weapons, few members

of the crowd left. On the contrary, the mob in the restricted area continued to grow as crowds

streamed towards the West Front, which looked like a battle scene, complete with an active melee

and visible projectiles.

       After actively defended their line for over an hour, the hundreds of officers at the front of

the inauguration stage were flanked, outnumbered, and under continuous assault from the

thousands of rioters directly in front of them as well as members of the mob who had climbed up

onto scaffolding above and to the side of them, many of whom were hurling projectiles. Because

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many of the thousands of people surrounding the officers were not engaged in assaultive conduct,

it was difficult for officers to identify individual attackers or defend themselves. By 2:28 pm, with

their situation untenable. Several gaps appeared in the police defensive line at the West Front and

a general retreat was called. The rioters had seized control of the West Plaza and the inauguration

stage. There were now no manned defenses between the crowd and several entrances into the

United States Capitol Building, allowing the stream of rioters that had started entering the building

around 2:13 pm to build to a torrent.




Image 3: The breach of the West Plaza barricades (top left) was followed by the formation of a
USCP officer wall (top right) until MPD officers arrived with bike rack barriers for a defensive
   line at the top of the West Plaza stairs (bottom left). In the photo of the nearly completed
  bicycle rack barrier line as of 1:39 pm, a large Trump billboard which would later be used
                against the police line like a battering ram is visible (bottom right).




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         Bargar was amidst the hundreds of rioters opposite the struggling police lines on the West

Plaza.




                    Image 4: Bargar on the West Plaza Holding American Flag




                     Image 5: Bargar Across from a Police Line on West Plaza
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       A review of open-source and body-worn camera (“BWC”) material does not show that

Bargar went inside the Capitol or engaged in violence during the riot. However, at approximately

2:30 p.m., MPD Lieutenant (“Lt.”) J.B. spotted a FNH 9-millimeter semi-automatic pistol, model

FNX-9 on the ground of the West Plaza.




                    Image 6: MPD Officer Pointing to Firearm on Ground

Lt. J.B. picked up the firearm, which was in a distinctive waistband holster displaying the

American flag and the words, “We the People.”




    Image 7: MPD Officer Holding the Recovered FNH 9-Millimeter Semi-Automatic Pistol
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       MPD later processed the firearm, noting that it was loaded, with 17 rounds in the magazine.




        Image 8: MPD Processing Photo of the FNH 9-Millimeter Semi-Automatic Pistol

       The Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) conducted a search

to determine the firearm’s ownership based on its serial number. The firearm was not initially

identified as belonging to Bargar. However, further investigation led law enforcement to identify

Bargar as the true owner.

       The ATF’s search of the ownership of the firearm returned a result for an individual named

D.F. On June 14, 2021, FBI agents interviewed D.F. at his home in Missouri. D.F. told the agents

that he had not owned the firearm for several years and could not remember if he had sold it or

pawned it. D.F. stated that he pawned several of his firearms at a specific pawn shop located in

Jefferson City, Missouri.

       On June 16, 2021, FBI agents interviewed B.P., an employee of the aforementioned pawn

shop. B.P. informed the agents that D.F. had pawned the firearm to the shop in November 2011,

and that subsequently in the same month, the firearm was purchased by R.N.

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          On July 13, 2021, FBI agents interviewed R.N. at his home in Missouri. R.N. confirmed

that the firearm had previously belonged to him, and that he had given the firearm to his stepson,

Jerod Bargar, approximately a year and a half prior to the interview.

          C.     Bargar’s Statements Regarding January 6th

          During the day on January 6th, Bargar posted about his participation in the riot on social

media. Specifically, Bargar posted on Facebook: “There’s patriots and traitors, where do you

stand?”




                                       Image 9: Facebook Post




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In another post, Bargar uploaded a picture of himself among a group of other rioters captioned:

“#FightForTrump #Parciallypeacefulprotect #partofhistory.”




                                  Image 10: Facebook Post

On January 7th, Bargar made the below picture his “cover” photo on his Facebook profile:




                                  Image 11: Facebook Post

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          On January 18, 2021, FBI interviewed Bargar regarding his participation in the riot. During

the interview, Bargar admitted to traveling to Washington, D.C. to participate in a political rally,

but downplayed his conduct, saying that he knew where the line was and did not cross it. Bargar

also stated that it was clear the USCP were trying to keep people from entering the Capitol, and

that he was adjacent to a woman shot with “rubber pellets.” At the time the interview occurred,

FBI had not yet traced the recovered gun back to Bargar, and Bargar did not mention bringing a

gun to D.C.

          The FBI interviewed Bargar again on July 13, 2021.           During that interview, FBI

confronted Bargar about the gun that MPD had recovered on the West Plaza, that was now traced

back to Bargar. Bargar positively identified the firearm as his. In response to FBI questions

regarding the firearm, Bargar told agents he is always armed and wanted to be armed when he

went into the “belly of the beast” for his own “self-protection.” According to Bargar, he did not

intend to use the firearm unless he had to defend himself. He claimed that he was not aware that

possession of a gun in D.C. was illegal. He also stated that he did not tell the FBI agents about the

gun during his initial interview because he was not asked about it specifically, and figured it had

likely been picked up by someone in the crowd since law enforcement officials had not contacted

him about it.

   III.      THE CHARGES AND PLEA AGREEMENT

          On July 29, 2022, Bargar was charged by complaint with four counts, including Entering

and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon, in

violation of 18 U.S.C. § 1752(a)(1) and (b)(1)(A). On June 8, 2023, Bargar entered a guilty plea

to that offense pursuant to a plea agreement.

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   IV.      STATUTORY PENALTIES

         Bargar now faces sentencing on his conviction for the charge of Entering or Remaining in

a Restricted Building or Grounds, in violation of 18 U.S.C. 1752(a)(1) and (b)(1)(A). As noted

by the plea agreement and the Presentence Report issued by the U.S. Probation Office, Bargar

faces up to 10 years of imprisonment, a term of supervised release of not more than three years, a

fine of up to $250,000, restitution, and a mandatory special assessment of $100.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. PSR ¶ 36. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level, after acceptance of responsibility, at 6, Bargar’s Guidelines range is 0

to 6 months of imprisonment. The plea agreement contains an agreed-upon Guidelines range

calculation that mirrors the calculation contained herein. ECF No. 29.              Specifically, the

calculation is as follows:

                U.S.S.G. § 2B2.3(a)                   Base Offense Level                      +4
                U.S.S.G. § 2B2.3(b)(1)(A)(vii)        Restricted Building or Grounds          +2
                U.S.S.G. § 2B2.3(b)(2)                Possession of Dangerous Weapon          +2
                                                                            Total              8

Given that Bargar is pleading guilty and accepting responsibility, the parties have agreed that a

two-level reduction is appropriate, bringing the calculation to an adjusted offense level of 6.

         Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. By its express terms,




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§ 4C1.1 does not apply in this case because Bargar possessed a firearm in connection with the

offense. See U.S.S.G. § 4C1.1(a)(7).

   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a term of incarceration at the high end of the

guidelines range.

         A.     Nature and Circumstances of the Offense

         As shown in Section II(B) of this memorandum, Bargar’s felonious conduct on January 6,

2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. Here, Bargar attended the “Stop the Steal” rally near the

Washington Monument and proceeded to the Capitol, where he entered the restricted grounds.

While on restricted grounds, Bargar carried a loaded gun. At some point during the riot, Bargar

lost control of the firearm—seemingly, either because the firearm fell from Bargar’s person or

because Bargar intentionally discarded it—and was later recovered by an MPD officer. The nature

and circumstances of Bargar’s offense—which include not only carrying a loaded gun during a

violent riot, but also (at a minimum) failing to ensure that the firearm was secured to his person—

fully support the government’s recommended sentence of six months of incarceration.

         B. The History and Characteristics of the Defendant

         As illustrated by the Presentence Report, Bargar had no prior criminal history. However, a

charitable interpretation of Bargar’s actions indicate, at the very least, a reckless disregard for gun

laws and basic gun safety. Another reasonable interpretation is that Bargar brought a loaded gun

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to the Capitol because he was going into the “belly of the beast” and expected to use the firearm

to advance his overall objective—to “Stop the Steal.”

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports a sentence of

incarceration. Although Bargar did not enter the Capitol on January 6th, he was among hundreds

of rioters who threatened the peaceful transition of power by storming Capitol grounds. Further,

Bargar brought a loaded firearm into the District of Columbia, where it is illegal to possess a

firearm without a license, and carried it with him onto restricted Capitol grounds during a full-

scale riot where police were being assaulted by all manner of weapons. Moreover, Barger was not

carrying the gun merely for show, as it was operable and loaded. Had MPD not recovered the gun,

another rioter could have picked it off the ground and used it.

       The seriousness of Bargar’s conduct, particularly his possession of a loaded firearm, is

evident from Lt. J.B.’s account of January 6th, which was provided during an interview with FBI

agents. Lt. J.B. was initially on the West Plaza, where he recovered Bargar’s firearm. Sometime

after recovering the gun, Lt. J.B. received a radio call to fall back to the Lower West Tunnel. While

trying to push rioters out of the tunnel, Lt. J.B. heard radio communication that the Capitol had

been breached. Lt. J.B. initially believed only one individual had breached the Capitol. When he

heard reports that someone had been shot, he assumed it was a rioter who shot police because he

was aware of multiple reports of firearms in the crowd and had already recovered Bargar’s firearm.

He believed the officers holding the tunnel were the last line of defense of the Capitol. When

considering the use of force to repel rioters, Lt. J.B. was concerned that the crowd would shoot


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back with firearms, and that they would be able to shoot a lot of officers quickly because everyone

was jammed together. At some point during his time in the tunnel, Lt. J.B. used the code 10-33,

an emergency code for officers/officers in distress, which Lt. J.B. used only one time previously

during his 18-year policing career.

         Lt. J.B.’s description demonstrates the seriousness and precariousness of the situation on

the ground on January 6th. Bargar’s presence and introduction of a deadly weapon—into what was

essentially a powder keg—could have dramatically escalated the already-violent riot, had it not

been for the restraint of responding police officers, despite facing physical harm themselves.

         D.     The Need for the Sentence to Afford Adequate Deterrence

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 2 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

         The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a significant term of incarceration. Bargar brought a loaded gun to a

riot. The “defense” often parroted by January 6th defendants that they did not travel to D.C.

planning for violence is one that Bargar cannot credibly invoke. Bargar insists that he did not



2
    See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
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expect violence yet brought a loaded gun for “protection.” His own statement that he was going

into the “belly of the beast” and therefore brought “protection” implies the expectation of violence.

His post on Facebook with the hashtag “Par[t]iallypeacefulprotest” supports the same inference.

       The need for specific deterrence is also important given (1) Bargar’s continued inability to

appreciate the distinction between legitimate political discourse and riotous violence; and (2) his

apparent continued disregard for gun laws. In October 2021, Bargar saved the following image on

his cellphone:




                      Image 12: Picture Recovered from Bargar’s Cellphone

The fact that, nearly ten months after the January 6th attack, Bargar seemed to continue denying

the attack’s unlawfulness indicates that Bargar had no immediate remorse for his actions.

       E.        The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying


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with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider . . . the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-

disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord United

States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity. See United States v. Daniel

Leyden, 21-cr-314 (TNM), Sent. Hrg. Tr. at 38 (“I think the government rightly points out

generally the best way to avoid unwarranted sentencing disparities is to follow the guidelines.”)

(statement of Judge McFadden); United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr.

at 49 (“as far as disparity goes, … I am being asked to give a sentence well within the guideline

range, and I intend to give a sentence within the guideline range.”) (statement of Judge Chutkan).

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       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing

disparities in Section 3553(a)(6) is “only one of several factors that must be weighted and

balanced,” and the degree of weight is “firmly committed to the discretion of the sentencing

judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of

the Section 3553(a) factors means that “different district courts may have distinct sentencing

philosophies and may emphasize and weigh the individual § 3553(a) factors differently; and every

sentencing decision involves its own set of facts and circumstances regarding the offense and the

offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district

courts can and will sentence differently—differently from the Sentencing Guidelines range,

differently from the sentence an appellate court might have imposed, and differently from how

other district courts might have sentenced that defendant.” Id. at 1095. “As the qualifier

‘unwarranted’ reflects, this provision leaves plenty of room for differences in sentences when

warranted under the circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 3

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses




3
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).

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and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). 4

       Bargar stands out from almost all other January 6th defendants because he carried a loaded

gun onto restricted Capitol grounds. To date, only one other January 6th defendant has been

sentenced for carrying a firearm into the Capitol’s restricted area—Guy Reffitt. United States v.

Reffitt, D.D.C. 21-cr-32 (DLF), Aug. 1, 2022 Sent. Hrg. Tr. In sentencing Reffitt, Judge Friedrich

noted, “It is true that Mr. Reffitt did not use or otherwise brandish his firearm . . . Still, as I’ve

explained, his carrying of a firearm, which I think it’s fair to infer was a loaded firearm, at the

scene of the January 6 riots substantially heightened the risk of serious injury to law enforcement

officers who courageously defended the Capitol, as well as everyone else who was present that

day, Mr. Reffitt included.” Id. at 164-65. In addition to carrying a firearm, Reffitt assisted and

encouraged other rioters on the Capitol grounds, and was convicted of the same charge as Bargar

plus four additional felonies, including 18 U.S.C. §§ 1512(a)(2)(C) and (c)(2). Judge Friedrich

sentenced Reffitt to 87 months’ incarceration.

       Another January 6 defendant who carried a weapon less dangerous than a firearm also

received a significant sentence of incarceration. See United States v. Eric Christie, D.D.C. 23-cr-

5 (APM). Christie wore a metal hammer on his belt buckle. He also encouraged other rioters on

the Capitol grounds with a bullhorn. And, after January 6th, created a dangerous situation when



4
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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he refused to submit to arrest. For his convictions under 18 U.S.C. §§ 1752(a)(1), (b)(1)(A) and

1752(a)(2), (b)(1)(A), Christie was sentenced to 11 months of imprisonment. Compared to

Christie’s 11 months, a six-month sentence is appropriate here, where Bargar did not encourage

the riot or refuse to submit to arrest, but did carry a firearm (as opposed to a hammer). A firearm

is clearly a dangerous weapon and presents an even more immediate danger of bodily injury than

other items (e.g., hammer, knife, stun gun, flagpole, OC spray) carried by rioters on January 6th.

E.g., United States v. Eric Christie, D.D.C. 23-cr-5 (APM) (hammer); United States v. William

Watson, D.D.C. 21-cr-513 (RBW) (knife and stun gun); United States v. Aiden Bilyard, D.D.C.

22-cr-34 (RBW) (pepper spray); United States v. Thomas Smith, D.D.C. 21-cr-599 (RBW) (pole).

    VII.     RESTITUTION

       The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 5 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering



5
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
                                                20
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from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Bargar must pay $2,000 in restitution, which reflects in part the

role Bargar played in the riot on January 6th. 6 Plea Agreement at ¶ 11. As noted in the plea

agreement, the riot at the United States Capitol caused “approximately $2,881,360.20” in damages,

a figure based on loss estimates supplied by the Architect of the Capitol and other governmental

agencies as of October 17, 2022. Id. (As noted above in footnote 1, the amount of damages has

since been updated by the Architect of the Capitol, USCP, and MPD.) Bargar’s restitution payment

must be made to the Clerk of the Court, who will forward the payment to the Architect of the

Capitol and other victim entities. See PSR ¶ 105.




6
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
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   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of six months incarceration, three years of supervised release, $2,000 in restitution, and

the mandatory assessment of $100 for the felony conviction.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY


                                      BY:    /s/ Sarah C. Martin
                                             Sarah C. Martin
                                             Assistant United States Attorney
                                             Bar No. 1612989
                                             555 Fourth Street, N.W.
                                             Washington, DC 20530




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